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            EXHIBIT 1
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                                 HIGHLY CONFIDENTIAL

                                                                    Page 1

   1
   2                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
   3                           ALEXANDRIA DIVISION
                  _____________________
   4
                  UNITED STATES,       )1:23-cv-00108-LMB-JFA
   5              et al.,              )
                                       )
   6                  Plaintiffs,      )
                                       )
   7              vs.                  )
                                       )
   8              GOOGLE LLC,          )
                                       )
   9                  Defendants.      )
                  _____________________)
  10
  11
  12                             - HIGHLY CONFIDENTIAL -
  13
  14
                           VIDEOTAPED 30(b)(6) DEPOSITION OF
  15
                      UNITED STATES DEPARTMENT OF VETERANS AFFAIRS
  16
                                through the testimony of
  17
                                       KOBY SMITH
  18
                                  August 31, 2023
  19
                                         4:09 p.m.
  20
  21
  22              Reported by: Bonnie L. Russo
                       Job No. CS6074125

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                                                          HIGHLY CONFIDENTIAL
                                                                 Page 2                                                 Page 4
       1      Videotaped 30(b)(6 Deposition of United States               1           INDEX
       2      Department of Veterans Affairs through the                   2   EXAMINATION OF KOBY SOUTH                PAGE
       3      testimony of Koby South held at:                             3   BY MS. MORGAN             7
                                                                           4
       4
                                                                           5
       5
                                                                           6
       6         Paul Weiss Rifkind Wharton & Garrison, LLP
                                                                                       EXHIBITS
       7         2001 K Street, N.W.
                                                                           7
       8         Washington, D.C.                                                      (NONE.)
       9                                                                   8
      10                                                                   9
      11                                                                  10
      12                                                                  11
      13                                                                  12
      14                                                                  13
                                                                          14
      15
                                                                          15
      16
                                                                          16
      17
                                                                          17
      18      Pursuant to Notice, when were present on behalf
                                                                          18
      19      of the respective parties:                                  19
      20                                                                  20
      21                                                                  21
      22                                                                  22
                                                                 Page 3                                                 Page 5
        1   APPEARANCES:
        2   On behalf of the Plaintiffs:                                   1          PROCEEDINGS
        3    SEAN CARMAN, ESQUIRE                                          2           (4:09 p.m.)
             VICTOR LIU, ESQUIRE
        4    ALVIN CHU, ESQUIRE                                            3
             KATHERINE E. CLEMONS, ESQUIRE
        5    UNITED STATES DEPARTMENT OF JUSTICE                           4          THE VIDEOGRAPHER: We are going on
             450 Fifth Street, N.W., Suite 700                             5   the record at 4:09 p.m. on August 31, 2023.
        6    Washington, D.C. 20530
             sean.carman@usdoj.gov                                         6          This is Media Unit 1 of the
        7    victor.liu@usdoj.gov
             alvin.chu@usdoj.gov                                           7   video-recorded deposition of Mr. Koby South in
        8    katherine.clemons@usdoj.gov                                   8   the matter of United States, et al., versus
        9
            On behalf of the Defendant:                                    9   Google LLC filed in the United States District
       10
             ERIN J. MORGAN, ESQUIRE                                      10   Court, Eastern District of Virginia, Alexandria
       11    PAUL, WEISS, RIFKIND,
                                                                          11   Division, Case No. 1:23-cv-00108-LMB-JFA.
             WHARTON & GARRISON, LLP
       12    1285 Avenue of the Americas                                  12          My name is Orson Braithwaite
             New York, New York 10019
       13    ejmorgan@paulweiss.com                                       13   representing Veritext Legal Solutions, and I am
       14          -and-
       15    HEATHER MILLIGAN, ESQUIRE
                                                                          14   the videographer. The court reporter is Bonnie
             ANNELISE CORRIVEAU, ESQUIRE                                  15   Russo from the firm Veritext Legal Solutions.
       16    MARTHA L. GOODMAN, ESQUIRE (Via Remote)
             PAUL, WEISS, RIFKIND,                                        16          Counsel will now state their
       17    WHARTON & GARRISON, LLP
             2001 K Street, N.W.
                                                                          17   appearances and affiliations for the record.
       18    Washington, D.C. 20006                                       18          MS. MORGAN: I'm Erin Morgan. I'm
             hmilligan@paulweiss.com
       19    acorriveau@paulweiss.com                                     19   from the law firm Paul Weiss, and we represent
             mgoodman@paulweiss.com
       20
                                                                          20   Google. I am here with my two colleagues,
       21   Also Present:                                                 21   Heather Milligan and Annelise Corriveau.
            Orson Braithwaite, Videographer
       22   Laura Reass, Department of Veterans Affairs                   22          MR. CARMAN: Sean Carman for the

                                                                                                             2 (Pages 2 - 5)
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                                                      Page 74                                                  Page 76
        1          MS. MORGAN: We can address that off           1   again and then you can make your objection
        2   the record. I don't think that's right.              2   again.
        3          BY MS. MORGAN:                                3           BY MS. MORGAN:
        4      Q. We talked in your 30(b)(1)                     4      Q. Do you know if anyone from the
        5   deposition about when you learned about the          5   Department of Justice spoke to anyone inside
        6   lawsuit that Google filed in the -- sorry,           6   the Department of Veterans Affairs in advance
        7   strike that.                                         7   of filing the lawsuit against Google in the
        8          We talked in your 30(b)(1)                    8   Eastern District of Virginia?
        9   deposition about when you personally learned         9           MR. CARMAN: Objection. Calls --
       10   about the lawsuit the Department of Justice         10   objection. Because it seeks communications
       11   filed against Google in the Eastern District of     11   between attorneys at the Department of Justice
       12   Virginia.                                           12   and Veterans Administration and others, so I
       13          Do you remember that?                        13   instruct you not to answer to the extent your
       14      A. Yes.                                          14   answer would reveal communications between
       15      Q. I want to talk to you in your role            15   lawyers at the Department of Justice and
       16   as the representative of the Department of          16   individuals at the VA.
       17   Veterans Affairs about when the Department of       17           BY MS. MORGAN:
       18   Veterans Affairs learned of that lawsuit.           18      Q. Were you prepared to testify today
       19          Do you know when that was?                   19   about your involvement in -- the Department of
       20      A. February of this year.                        20   Veterans Affairs' involvement in communications
       21      Q. At the time that the Department of            21   -- sorry, scratch that.
       22   Veterans Affairs learned that the Department of     22           Were you prepared to testify today
                                                      Page 75                                                  Page 77
        1   Justice had filed a lawsuit in the Eastern           1   about the Department of Veterans Affairs, the
        2   District of Virginia against Google, had that        2   circumstances that led to the Department of
        3   lawsuit already been filed?                          3   Veterans Affairs to be involved in the lawsuit,
        4      A. I don't know the specific date when            4   including any efforts that the Department of
        5   the lawsuit was filed.                               5   Veterans Affairs undertook to investigate the
        6      Q. But in your prep for this deposition           6   Department of Justice's claims?
        7   as the representative of the VA, you understand      7          Were you prepared to testify about
        8   that they learned -- that the VA learned of the      8   how the Department of Veterans Affairs got
        9   lawsuit in February?                                 9   involved in the lawsuit today?
       10      A. Correct.                                      10          MR. CARMAN: Objection as to form.
       11      Q. Do you know if anyone from the                11          THE WITNESS: I don't -- I don't
       12   Department of Justice spoke to anyone inside        12   understand the question.
       13   the Department of Veterans Affairs before           13          MS MORGAN: It's a topic that was
       14   filing the lawsuit?                                 14   agreed upon in this notice, that the Department
       15          MR. CARMAN: So I object to the               15   of Veterans Affairs would testify about the
       16   extent this calls for attorney-client               16   circumstances that led the department to be
       17   communication and instruct you in your answer       17   involved in this lawsuit, and I understand you
       18   not to disclose any conversations between           18   now to be saying that he can't testify on that
       19   lawyers from the Department of Justice and the      19   topic because it's privileged. Am I right
       20   Veterans Administration.                            20   about that?
       21          MS. MORGAN: I was not done asking            21          MR. CARMAN: No, that is not -- that
       22   the question, so I'm going to say the question      22   is not correct. He testified as to when the

                                                                                                 20 (Pages 74 - 77)
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                                            HIGHLY CONFIDENTIAL
                                                     Page 78                                                 Page 80
        1   Veterans Administration learned of the lawsuit      1   dates of such conversation between DOJ and VA
        2   and that was an answer to your question about       2   occurred, and the people involved in those
        3   the circumstances that led VA to be involved in     3   conversations, but we will fall back on our
        4   the lawsuit.                                        4   objection or we will reiterate our objection
        5          BY MS. MORGAN:                               5   about not disclosing the substance of those
        6      Q. Tell me everything you know that is           6   conversations or any attorney work product.
        7   not from a lawyer, about the circumstances that     7          And then with respect to Topic 26 in
        8   led the Department of Veterans Affairs to be        8   the notice, I wanted to put on the record that
        9   involved in this lawsuit.                           9   we have -- our understanding is, we have agreed
       10          MR. CARMAN: Okay. So I will have            10   with Google that questioning along this typic
       11   -- object again to attorney-client privilege.      11   will be subject to our standing objection, that
       12          You can answer.                             12   this topic is not an appropriate topic for a
       13          THE WITNESS: I do not know anything         13   30(b)(6) inquiry, because the United States is
       14   other than what I have discussed with -- with      14   going to rely on expert testimony to
       15   lawyers related to the Department of Veterans      15   demonstrate these facts.
       16   Affairs being involved in this lawsuit.            16          MS. MORGAN: Understood. And
       17          BY MS. MORGAN:                              17   Google, I think not surprisingly, does not
       18      Q. Is it the Department of Justice's            18   agree with the Department of Justice's
       19   position that the only responsive information      19   position, reserves all rights in that regard,
       20   to noticed Topic No. 30 is the date on which       20   but we understand how you want to proceed.
       21   the Department of Veterans Affairs learned of      21          MR. CARMAN: Thank you.
       22   the lawsuit?                                       22          BY MS. MORGAN:
                                                     Page 79                                                 Page 81
        1          MR. CARMAN: Before we answer that            1      Q. Mr. South, you testified that the
        2   question, can I confer with my colleague.           2   Department of Veterans Affairs learned of the
        3          MS. MORGAN: Sure. Let's go off the           3   Department of Justice's lawsuit against Google
        4   record.                                             4   in February of 2023.
        5          MR. CARMAN: Okay.                            5          Do you remember that?
        6          THE VIDEOGRAPHER: The time is                6      A. Yes.
        7   p.m. We are off the record.                         7      Q. Do you know who was involved in that
        8          (A short recess was taken.)                  8   conversation from the Department of Veterans
        9          THE VIDEOGRAPHER: The time is                9   Affairs?
       10   p.m. This begins Unit 2. We are on the             10      A. I don't know about the initial
       11   record.                                            11   communication that was made. There was a
       12          MR. CARMAN: So following --                 12   meeting established later that involved the
       13   following our break, I wanted to clarify two       13   Department of Justice and, you know, the
       14   things. The first is that with regard to           14   Department of Veteran Affairs.
       15   questions to Mr. South about -- sorry.             15          It was during that same month,
       16          This is -- Topic 30, the                    16   February 2023. I hadn't -- unfortunately, had
       17   circumstances that led you, capital Y-O-U, to      17   some notes on this and I misplaced them, so
       18   be involved in the lawsuit including any           18   some of the names I have are just going to be
       19   efforts you undertook to investigate your          19   first names.
       20   claim.                                             20          From the VA, it was definitely
       21          The United States is taking the             21   Laura. And Jason Fergosa, F-E-R-G-O-S-A, I
       22   position that Mr. South can testify about the      22   think. From the Department of Justice, I think

                                                                                               21 (Pages 78 - 81)
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                                                     Page 90                                                                Page 92
        1   the record that Google was informed last night      1              CERTIFICATE OF NOTARY PUBLIC
        2   by the Department of Justice that there were        2            I, Bonnie L. Russo, the officer before
        3   several thousand documents of Mr. South's that      3      whom the foregoing deposition was taken, do
        4   were not produced in advance of this                4      hereby certify that the witness whose testimony
        5   deposition.                                         5      appears in the foregoing deposition was duly
        6          So we reserve the right to reopen            6      sworn by me; that the testimony of said witness
        7   the deposition should that become necessary         7      was taken by me in shorthand and thereafter
        8   based on the documents we reviewed.                 8      reduced to computerized transcription under my
                                                                9      direction; that said deposition is a true
        9          I will also reserve the right to
                                                               10      record of the testimony given by said witness;
       10   reopen the deposition as necessary on the
                                                               11      that I am neither counsel for, related to, nor
       11   topics on which Mr. South is not prepared to
                                                               12      employed by any of the parties to the action in
       12   testify, including certain campaigns that were
                                                               13      which this deposition was taken; and further,
       13   listed earlier in the deposition and whether
                                                               14      that I am not a relative or employee of any
       14   Google products were used in connection with
                                                               15      attorney or counsel employed by the parties
       15   other campaigns.                                   16      hereto, nor financially or otherwise interested
       16          And I am going to -- and also, I'll         17      in the outcome of the action.
       17   reserve rights on the Court's determination        18
       18   about standing privilege objection.                                <%11937,Signature%>
       19          In other words, I will reserve the          19             ____________________________
       20   balance of my time for after the department        20             Notary Public in and for
       21   asks any questions if it wants to do that.         21              the District of Columbia
       22          MR. CARMAN: Okay. Can we take a             22      My Commission expires: August 14, 2025.
                                                     Page 91                                                                Page 93
       1    brief -- just a brief break?                        1            ACKNOWLEDGMENT OF DEPONENT
                                                                2      I, KOBY SOUTH, do hereby certify that I have
       2           MS. MORGAN: Of course.
                                                                3     read the foregoing transcript of my testimony
       3           MR. CARMAN: And then we will
                                                                4     taken on 8/31/23, and further certify that it
       4    resume. I don't think we even have to leave         5     is a true and accurate record of my testimony
       5    the room. But we can go off the record.             6     (with the exception of the corrections listed
       6           THE VIDEOGRAPHER: The time is                7     below):
       7    p.m. Off the record.                                8     Page   Line       Correction
                                                                9     ____   ____        __________________
       8           (A short recess was taken.)
                                                               10     ____   ____        __________________
       9           THE VIDEOGRAPHER: The time is               11     ____   ____        __________________
      10    p.m. On the record.                                12     ____   ____        __________________
      11           MR. CARMAN: Okay. We just want to           13     ____   ____        __________________
      12    say for the record that we don't agree that        14     ____   ____        __________________
                                                               15     ____   ____        __________________
      13    there is a record in this deposition that
                                                               16     ____   ____        __________________
      14    demonstrates that Mr. South was not prepared to
                                                               17     ____   ____        __________________
      15    testify on any topic in the deposition notice,     18                ______________________
      16    and with that, we have no further questions.                         KOBY SOUTH
      17           MS. MORGAN: Great. I think we can           19
      18    close the record.                                         SUBSCRIBED AND SWORN TO BEFORE ME
                                                               20     THIS _____DAY OF ________________, 2023.
      19           THE VIDEOGRAPHER: The time is
                                                               21
      20    p.m. Off the record.                                      __________________ ______________________
      21           (Whereupon, the proceeding was              22     (NOTARY PUBLIC)           MY COMMISSION EXPIRES:
      22    concluded at 5:44 p.m.)                                 Job No. CS6074125

                                                                                                            24 (Pages 90 - 93)
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